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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION
                                     www.flsb.uscourts.gov


In re:                                                      Case No. 22-15714-PDR

POMPANO SENIOR SQUADRON                                     Chapter 11
FLYING CLUB, INC.,                                          (Subchapter V)

             Debtor.
______________________________/

         DEBTOR’S EMERGENCY MOTION FOR TURNOVER OF ESTATE FUNDS

                           EMERGENCY HEARING REQUESTED

     The Debtor in Possession seeks emergency relief because the freeze on its bank accounts
    prevent the establishment of the required debtor in possession accounts, operation of the
    debtors affairs and payment of post-petition expenses, including its payment of insurance
    premiums due on July 29, 2022, its lease payment due August 1, 2022 and payment of its
                       monthly aircraft lease and secured debt obligations.

     A bona fide effort to resolve the matter without hearing has been attempted and counsel
    for the Debtor in Possession will continue such efforts prior to any hearing on the matter.

         Debtor-in-Possession, Pompano Senior Squadron Flying Club, Inc. (“Debtor” or “PBFC”),

by and through its undersigned counsel, moves this Court to enter an Order directing creditor

Sunwood, Inc. and Chase Bank to turnover funds held at Chase Bank which are property of the

Debtor’s bankruptcy estate and states:

         1.      On July 15, 2022, judgment creditor Sunwood, Inc. served a writ of garnishment

upon Chase Bank. 1

         2.      At the time of the writ, the Debtor maintained funds at Chase Bank in the

approximate amounts of $20,020.37 in a savings account and $40,494.56 in a checking account.



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        The writ was served within the 90 days before bankruptcy and would also meet the prima
facie elements of an avoidable transfer under 11 U.S.C. §547 without any apparent defense to
avoidance.
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       3.      The Debtor also had an account at Bank of America containing $4.42.

       4.       No answers to the writs have been filed, no final judgment of garnishment has been

entered, and the funds have not been turned over to the possession of the creditor.

       5.      The garnishment action is stayed by the filing of the petition and commencement

of this case pursuant to the automatic stay under 11 U.S.C. §362,

       6.      The aforementioned funds are frozen with the banks subject to the writ of

garnishment.

       7.      The funds are undisputedly property of this bankruptcy estate, and the funds should

be turned over to the bankruptcy estate and should be (and are required to be) placed into a United

States Trustee approved debtor in possession account.

       8.      The Debtor in Possession seeks turnover of the funds so that it may open and place

such funds in a required Debtor in Possession account.

       9.      Due to the hold on the accounts, the Debtor in Possession also seeks turnover of

any funds which are or were deposited following the service of the writ of garnishment.

       10.     The Debtor in Possession does not seek the adjudication of any debts, claims or

rights other than that the funds are property of the estate and the turnover of possession of such

property of the estate pursuant to 11 U.S.C. 542.

       WHEREFORE, the Debtor in Possession respectfully requests that this Court enter an

Order directing Sunwood, Inc. and Chase Bank, to release the hold on property of the estate and

take such actions necessary to turn over the funds to the estate, and grant such further relief as this

Court may deem just and proper.




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                                              By: /s/ Craig A. Pugatch
                                                      CRAIG A. PUGATCH
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the date of filing this document, as reflected by the e-filing

stamp inserted upon it by the Clerk of Curt, a true a correct copy of the foregoing has been

furnished via email to counsel for Sunwood, Inc., Dane Stanish, Esq. and Carolyn N. Budnik, Esq.,

as well as via CMECF. A separate certificate of service shall be filed reflecting service via US

Mail to all parties on the Court’s mailing matrix.

                                              /s Craig A. Pugatch




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